                      IN THE UNITED STATES DISTRICT COURT FOR THE
                             EASTERN DISTRICT OF TENNESSEE


  ANDREW JOSTEN LOVINGOOD                              )
                                                       )
         Plaintiff,                                    )
                                                       )       Docket No.: 3:19-CV-00009
                                                       )
  v.                                                   )
                                                       )
  BILL JOHNSON,                                        )
  DERRICK GRAVES, and                                  )
  MONROE COUNTY, TENNESSEE                             )
                                                       )
         Defendants.                                   )

            PLAINTIFF’S MOTION FOR PARTIAL SUMMARY JUDGMENT
          AGAINST DEFENDANT DERRICK GRAVES AND MONROE COUNTY

         COME NOW, Andrew Lovingood (hereinafter “Mr. Lovingood” or “Plaintiff”), by and

  through undersigned counsel, hereby moves the Court under Rule 56 of the Federal Rules of Civil

  Procedure for entry of an order granting partial summary judgment against Defendant Graves on

  violation of the Fourth Amendment of the United States Constitution, through 42 U.S.C. § 1983,

  for use of excessive force on Plaintiff while acting under color of law (Count II of the Complaint),

  and the underlying constitutional violation with respect to his Monell claims (Counts III and IV).

         On April 19, 2014, Mr. Lovingood was brutally assaulted by Defendant Graves, whom was

  at that time a sworn deputy with the Monroe County Sherriff’s Department. In April 2015, a grand

  jury indicted Graves for assaulting Lovingood in violation of T.C.A. § 39-13-101 and for official

  misconduct in violation of T.C.A. § 39-16-402. On March 13, 2017, Graves entered a guilty plea

  to Class A misdemeanor assault and Class A misdemeanor attempted official misconduct. Graves

  was given a probated sentence of two concurrent terms of eleven months and 29 days pursuant to

  the State’s judicial diversion statute. By virtue of this plea, Defendants Graves and Monroe County



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  cannot dispute the material facts of Count II (excessive force) and the underlying constitutional

  violation with respect to Plaintiff’s Monell claims (Counts III and IV).

         Plaintiff supports this motion with facts which are conclusively established for the purposes

  of this motion through the criminal prosecution of Graves under the doctrine of collateral estoppel.

  Plaintiff also references materials that cannot reasonably be disputed, including, inter alia, Graves’

  sworn deposition and jail surveillance footage. There is no genuine dispute regarding any material

  fact related to this motion.

         RESPECTFULLY SUBMITTED, this the 9th day of July, 2020.



                                                        BOWLIN STEPHENS PLLC



                                                 BY:    _________________________ for the Firm
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                                    CERTIFICATE OF SERVICE

          I hereby certify that, on July 9, 2020, a copy of Plaintiff’s Motion for Summary Judgment
  and Memorandum of Law in Support was transmitted for service via Pacer and the Court’s
  Electronic Court Filing System to counsel for all parties. Other parties will be served via United
  States Postal Service postage prepaid.

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